Case 3:18-cv-00630-SMY-DGW Document 17 Filed 05/04/18 Page 1 of 3 Page ID #72



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


  DONNA MULLINS                                     )
                                                    )
                         Plaintiff,                 )
                                                    )
  vs.                                               )   Case No. 18-CV-630-SMY-DGW
                                                    )
  ROSS STORES, INC., Individually and               )
  d/b/a ROSS DRESS FOR LESS, INC., and              )
  ROSS DRESS FOR LESS, INC.,                        )
                                                    )
                         Defendants.                )


                              MEMORANDUM AND ORDER
 YANDLE, District Judge:

        Pursuant to the Court’s obligation to raise sua sponte whether it has subject matter

 jurisdiction, (Craig v. Ontario Corp., 543 F.3d 872, 875 (7th Cir. 2008)), and having reviewed

 the Notice of Removal in this case (Doc. 1), the Court finds that Defendants insufficiently

 pleaded diversity jurisdiction. Accordingly, this matter is REMANDED to the Circuit Court of

 Jackson County, Illinois.

        Plaintiff Donna Mullins filed suit against Defendants Ross Stores, Inc. and Ross Dress

 for Less, Inc. on January 30, 2018, alleging she sustained personal injuries after a slip and fall on

 Defendants' premises. The lawsuit was originally filed in the Circuit Court of Jackson County,

 Illinois. Defendants removed the action to this Court, alleging federal subject matter jurisdiction

 based on diversity of citizenship pursuant to 28 U.S.C. § 1332.

        A civil action may be removed to federal court if the district court has original

 jurisdiction. 28 U.S.C. § 1441. Courts have original jurisdiction over civil actions if there is

 complete diversity between the parties and the amount in controversy exceeds $75,000, exclusive

                                              Page 1 of 3
Case 3:18-cv-00630-SMY-DGW Document 17 Filed 05/04/18 Page 2 of 3 Page ID #73



 of interest and costs. Jurisdiction depends on the amount in controversy when the federal suit

 began. Meridian Sec. Ins. v. Sandowski, 441 F.3d 536, 538 (7th Cir. 2006). The amount in

 controversy stated in the plaintiff’s Complaint generally controls, unless it is legally impossible.

 Rising-Moore v. Red Roof Inns, Inc., 435 F.3d 813, 815 (7th Cir. 2006). If the Complaint does

 not establish the amount in controversy, the party invoking federal jurisdiction can use other

 evidence. Meridian, 441 F.3d at 541-42; Chase v. Shop N’ Save Warehouse Foods, Inc., 110

 F.3d 424, 427-28 (7th Cir. 1997).

        Jurisdictional facts must be established by a preponderance of the evidence. Meridian,

 441 F.3d at 540. The burden of establishing federal jurisdiction falls on the party seeking

 removal, and must be premised on “what the plaintiff hopes to get out of the litigation.” Brill v.

 Countrywide Home Loans, Inc., 427 F.3d 446, 449 (7th Cir. 2005) (“[P]art of the removing

 party's burden is to show not only what the stakes of the litigation could be, but also what they

 are given the plaintiff's actual demands.”). The removal statute is construed narrowly, and any

 doubts regarding jurisdiction are resolved in favor of remand. Doe v. Allied–Signal, Inc., 985

 F.2d 908, 911 (7th Cir. 1993). If the district court lacks subject matter jurisdiction, the action

 must be remanded to state court pursuant to 28 U.S.C. § 1447(c). Id.

        In this case, Plaintiff’s Complaint requests judgment “in excess of $50,000.00, plus cost

 of suit” (Doc. 1-1). Defendants assert that the amount in controversy exceeds $75,000 "on

 information and belief" based on Plaintiff’s allegations that she sustained permanent injuries and

 will "continue to endure pain suffering and loss of normal life, has incurred and will continue to

 incur medical expenses" and lost wages (Doc. 1, p. 2). But these allegations are insufficient to

 establish the amount in controversy.




                                             Page 2 of 3
Case 3:18-cv-00630-SMY-DGW Document 17 Filed 05/04/18 Page 3 of 3 Page ID #74



        Because Defendants have not provided the Court with any competent evidence indicating

 that the amount in controversy actually exceeds $75,000, they have failed to meet their burden to

 provide the Court with a plausible basis for concluding that the amount in controversy exceeds

 the jurisdictional requirement. See McMillian v. Sheraton Chi. Hotel & Towers, 567 F.3d 839,

 844–45 (7th Cir. 2009) (finding claims for “future medical expenses” and “pain and suffering”

 could not account for jurisdictional shortfall without competent proof). Moreover, Defendants

 allege Plaintiff's residency and the amount in controversy based upon information and belief. It

 is well settled that jurisdictional allegations based upon information and belief are insufficient to

 establish federal subject matter jurisdiction. America’s Best Inns, Inc. v. Best Inns of Abilene,

 L.P., 980 F.2d 1072, 1074 (7th Cir. 1992) (per curiam). For these reasons, this Court does not

 have proper subject matter jurisdiction over this matter and is obligated, pursuant to 28 U.S.C. §

 1447(c), to REMAND the case to the Circuit Court of Jackson County, Illinois.

        IT IS SO ORDERED.

        DATED: May 4, 2018
                                                       s/ Staci M. Yandle
                                                       STACI M. YANDLE
                                                       United States District Judge




                                              Page 3 of 3
